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IN THE UNITED sTATEs DISTRI<:T coURT `“* ‘ :J.r;,
FoR THE wEsTERN DISTRICT oF TENNESSEE (}SHF,_,, .
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LITTLE TYKE’S LEARNING ACADEMY;
DOROTHY AVANT, KIMBERLY AVANT,
BRIAN AVANT AND BOBBY AVANT, in
their official and personal
capacity,

 

Plaintiffs,

v. Nb. 03-2570 Ma/V
INSOUTH BANK, INSOUTH BANK, INC.;
LARRY MURFF, AGENT OF INSOUTH BANK;
EDWARD BELL, VICE PRESIDENT OF
INSOUTH BANK; T. KEVIN BRUCE, BRUCE,
NORRIS AND BASS, PLLC; GEOFFREY
HIRSCH; AND KRIVCHER MAGIDS, PLLC,

Defendants.

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ORDER DISMISSING COMPLAINT WITHOUT PREJUDICE

 

Before the court is plaintiffs Little Tyke's Learning Academy,
Dorothy Avant, Kimberly Avant, Brain Avant, and Bobby Avant's
(“the Plaintiffs”) “Motion for Leave to Serve Complaint Outside of
120 Day Limitation or in the Alternative to Dismiss Without
Prejudice Within the Statute of Limitations,” filed on April 27,
2005. The Plaintiffs’ counsel has also submitted directly to the
court an in camera statement titled “Statement Supporting Good
Cause For Failure to Serve Complaint Within 120 Day Period.”
Defendant Insouth Bank, Inc. (“Insouth”) filed a response on May

18, 2005.

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with sure ss and/or rem FRCP on 5~ ' 5 y

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An in camera complaint was filed in this case on August 4,
2003. The Complaint was unsealed on May 17, 2004, allowing the
Plaintiffs to serve process on the defendants. The Plaintiffs,
however, never served the Complaint. (Pl.’s Mot. at 1-2.)

Fed. R. Civ. P. 4(m) states:

[i]f service of the summons and complaint is not made

upon a defendant within 120 days after the filing of the

complaint, the court, upon motion or on its own initative

after notice to the plaintiff, shall dismiss the action
without prejudice as to that defendant or direct that
service be effected within a specified time; provided

that if the plaintiff shows good cause for the failure,

the court shall extend the time for service for an

appropriate period.

“Absent a showing of good cause to justify a failure to effect
timely service, the Federal Rules of Civil Procedure compel
dismissal.” Byrd v. Stone, 94 F.3d 217, 219 (6th Cir. 1996). A
plaintiff bears the burden of establishing good cause and the
“determination of good cause is left to the sound discretion of the
district court.” Habib v. General Motors Corp., 15 F.Bd 72, 73 (6th
Cir. 1994). Good cause may exist if a plaintiff or his counsel
suffers a sudden and acute illness that prevents him from serving
process within the 120 day period. ld; at 74. A plaintiff may also
demonstrate good cause by showing that “he/she made a reasonable
and diligent effort to effect service.” ld;.Additionally, Rule 4(m)
must be construed leniently for p;Q §§ litigants. ld;

Plaintiffs' counsel’s ip camera statement explaining why no

attempt was made to serve the Complaint for over a year after the

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Complaint was unsealed contains no showing of good cause.1 Most
notably, the statement fails to allege that the Plaintiffs put
forth any effort during the intervening year to effect service of
process on the defendants. See Bush v. Citv of Zeeland, 74 Fed.
Appx. 581, 583 {6th Cir. 2003) (dismissing the case because the
affidavit filed by the plaintiffs to support their motion to serve
process outside the 120 day period “did not disclose any effort,
however minimal, by the plaintiffs to effect service of process on
the [Defendant]”).

Insouth asks the court to dismiss this case with prejudice.
According to the Defendants this is the second time in two years
that the Plaintiffs have filed this lawsuit and then failed to
prosecute the case. (Def.'s Resp. at 1-2.) Rule 4(m) instructs that
dismissal for failure to serve process is to be without prejudice.
The court sees no reason to ignore Rule 4(m)'s instruction.
According to Insouth, the first filing ended with a voluntary
dismissal roughly two months after the case was filed. (Id.) The
only action Insouth has had to take in this case is to file a three
page response to the Plaintiffs’ motion to serve outside the 120
day period. Thus far, Insouth has expended few resources defending
this suit. Conseguently, the court sees no reason at this time to
dismiss this case with prejudice.

Finally, the court notes that “[i]t is generally accepted that

a dismissal without prejudice leaves the situation the same as if

 

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Because the statement was filed in camera, the court will not quote from
it or describe its contents.

 

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the suit had never been brought, and that in the absence of a
statute to the contrary a party cannot deduct from the period of
the statute of limitations the time during which the action so
dismissed was pending.” Wilson v. Grumman Ohio Corp. , 815 F.2d 26,
27 (6th Cir. 1987).

For the foregoing reasons, Plaintiffs’ Complaint is DISMISSED

WITHOUT PREJUDICE.

So ordered this 1°}< day of May 2005.

.JM/M»-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

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This notice confirms a copy of the document docketed as number 8 in
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Wanda Abioto

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Honorable Samuel Mays
US DISTRICT COURT

